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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

                                   6                                            SAN JOSE DIVISION

                                   7
                                         PERSONALWEB TECHNOLOGIES LLC,
                                   8     et al.,                                            Case No. 16-cv-01266-EJD

                                   9                       Plaintiffs,                      ORDER DENYING DEFENDANT’S
                                                                                            MOTION TO DISMISS; GRANTING IN
                                  10               v.                                       PART AND DENYING IN PART
                                                                                            DEFENDANT’S MOTION FOR
                                  11     INTERNATIONAL BUSINESS                             PARTIAL SUMMARY JUDGMENT
                                         MACHINES CORPORATION,
                                  12                                                        Re: Dkt. Nos. 212, 218
Northern District of California




                                                           Defendant.
 United States District Court




                                  13

                                  14          Plaintiffs PersonalWeb Technologies LLC (“PersonalWeb”) and Level 3 Communications,

                                  15   LLC (“Level 3”) (collectively, “Plaintiffs”) bring the instant action for patent infringement against

                                  16   Defendant International Business Machines Corporation (“IBM” or “Defendant”). Presently

                                  17   before the Court are two motions filed by IBM: IBM’s Motion for to Dismiss (Dkt. No. 212) and

                                  18   IBM’s Motion for Summary Judgment (Dkt. No. 218). Having carefully considered the moving,

                                  19   opposing, and reply papers for both motions as well as the arguments of counsel from the hearing

                                  20   on these matters, the Court DENIES IBM’s Motion to Dismiss and GRANTS IN PART and

                                  21   DENIES IN PART IBM’s Motion for Summary Judgment.

                                  22     I.   BACKGROUND
                                  23          A.        Factual Background
                                  24          PersonalWeb is a limited liability company organized under the laws of Texas with its

                                  25   principal place of business in Tyler, Texas. Dkt. No. 29 ¶ 4. Level 3 is a limited liability

                                  26   company organized under the laws of Delaware with its principle place of business in Broomfield,

                                  27
                                                                        1
                                  28   Case No.: 16-cv-01266-EJD
                                       ORDER DENYING DEFENDANT’S MOTION TO DISMISS; GRANTING IN PART AND
                                       DENYING IN PART DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                   1   Colorado. Id. ¶ 5. IBM is a New York corporation with its principal executive offices at Armonk,

                                   2   New York. Id. ¶ 7. PersonalWeb and Level 3 each own a fifty percent (50%) undivided interest

                                   3   in U.S. Patent No. 8,099,420 (the “’420 patent”). Id. ¶ 1. IBM is a technology company which

                                   4   makes software and storage products, including the Tivoli Storage Manager (“TSM”). Id. ¶¶ 8-9.

                                   5                i.    The Asserted Patent
                                   6           The ’420 patent relates to “data processing systems wherein data items are identified by

                                   7   substantially unique identifiers which depend on all of the data in the data items and only on the

                                   8   data in the data items.” ’420 patent, col. 1 ll. 20-22. The ’420 patent belongs to a chain of several

                                   9   continuation and divisional patent applications, the earliest of which was filed on April 11, 1995.

                                  10   The ’420 patent expired on April 11, 2015.

                                  11           Currently at issue is claim 166, which recites:

                                  12           166. A system comprising hardware, including at least a processor, and software,
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                                               in combination with said hardware to:
                                  13
                                                   (A) for a particular data item in a set of data items, said particular data item
                                  14               comprising a corresponding particular sequence of bits:
                                  15                     (a1) determine one or more content-dependent digital identifiers for said
                                                         particular data item, each said content-dependent digital identifier being
                                  16                     based at least in part on a given function of at least some of the bits in the
                                                         particular sequence of bits of the particular data item, wherein two identical
                                  17                     data items will have the same digital identifiers as determined using said
                                                         given function; and
                                  18
                                                         (a2) selectively permit the particular data item to be made available for
                                  19                     access and to be provided to or accessed by or from at least some of the
                                                         computers in a network of computers, wherein the data item is not to be
                                  20                     made available for access or provided without authorization, as resolved
                                                         based, at least in part, on whether or not at least one of said one or more
                                  21                     content-dependent digital identifiers for said particular data item
                                                         corresponds to an entry in one or more databases, each of said one or more
                                  22                     databases comprising a plurality of identifiers, each of said identifiers in
                                                         each said database corresponding to at least one data item of a plurality of
                                  23                     data items, and each of said identifiers in each said database being based, at
                                                         least in part, on at least some of the data in a corresponding data item.
                                  24
                                       ’420 patent, col. 56 l. 51-col. 57 l. 13.
                                  25
                                                   ii.    The Accused Product
                                  26
                                               PersonalWeb currently asserts claim 166 against a single product: TSM. TSM is a data
                                  27
                                       storage, back-up, and recovery product sold by IBM. See Dkt. No. 217-4, Joint Statement of
                                  28
                                                                                            2
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                                   1   Undisputed Facts (“JSUF”), ¶¶ 37-38. IBM touts TSM as currently “support[ing] organizations

                                   2   ranging from small businesses to large enterprises.” Dkt. 232-1, Declaration of Benjamin J.

                                   3   Christoff in Support of PersonalWeb’s Opposition to IBM’s Motion for Summary Judgment

                                   4   (“Christoff MSJ Decl.”), Ex. 5 at 9. Customers can download the TSM software suite from IBM

                                   5   using a website called Passport Advantage. JSUF ¶ 40. TSM can be deployed in a wide variety of

                                   6   complex environments, including “virtual, physical, and cloud environments.” Dkt. No. 218-1,

                                   7   Declaration of Kenneth R. Adamo in Support of IBM’s Motion for Summary Judgment (“Adamo

                                   8   MSJ Decl.”), Ex. 7 at 10.

                                   9          TSM includes “client-side deduplication” and “server-side deduplication” features which

                                  10   help prevent duplicate copies of the same data from being backed up. JSUF ¶¶ 44-45. At a high

                                  11   level, this works by calculating hash values on chunks of data and then using those hash values to

                                  12   determine if that data has already been backed up. See Christoff MSJ Decl., Ex. 3 at 40-42.
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                                  13   “Server-side deduplication” has been included in TSM versions 6.1 and later. JSUF ¶ 44. “Client-

                                  14   side deduplication” has been included in TSM versions 6.2 and later. JSUF ¶ 45.

                                  15             iii.   Licensing History
                                  16          Over the years, the ’420 patent (as well as other patents not at issue here) has been part of

                                  17   several acquisitions and patent licensing agreements. Several are relevant here:

                                  18          On June 12, 1996, the original assignee of the ’420 patent, Kinetech, Inc. (“Kinetech”),

                                  19   entered into a Technology Transfer Agreement (“TTA”) with Connected Corporation

                                  20   (“Connected”). Dkt. 212-1, Declaration of Kenneth R. Adamo in Support of IBM’s Motion to

                                  21   Dismiss (“Adamo MTD Decl.”), Ex. 5. The TTA granted an exclusive, field of use license to

                                  22   Connected, reciting:

                                  23          On the terms and subject to the conditions set forth in this Agreement, Kinetech
                                              grants to Connected, and Connected accepts, a perpetual, exclusive, worldwide,
                                  24          transferable (subject to Section 4) right and license to make, sell, use and sublicense
                                              the Invention under the Patent Application, but such license is limited solely for the
                                  25          purposes of developing and operating value-added, online backup and file recovery
                                              products and services, and Kinetech further grants to Connected, and Connected
                                  26          accepts, a perpetual nonexclusive, world-wide right and license to use and
                                              sublicense the Invention under the Patent Application, but such license is limited
                                  27          solely for purposes of developing and operating value-added online remote desktop
                                              system configuration management products and services (collectively, the
                                  28          “Licensed Use”). . . . In addition, Connected shall not during the pendancy of the
                                                                                         3
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                                              Patent Application and the life of any related patent use the Invention in any manner
                                   1          outside of the Licensed Use and Kinetech reserves all other rights not expressly
                                              granted to Connected hereunder.
                                   2

                                   3   Id. at 2 (TTA § 2.1). The TAA defined the “Patent Application” as U.S. Patent Application No.

                                   4   08/425,160 (the “’160 application”) “including any . . . subsequently issued patent or patents and

                                   5   all divisions, continuations, continuations-in-part, and reissues thereof.” Id. at 1. The ’420 patent

                                   6   is a continuation of an application which is a continuation of the ’160 application. ’420 patent.

                                   7          The TTA also granted to Connected “the right, at its own expense, to prosecute any

                                   8   infringer who is infringing on the Licensed Use or the Software and any recovery in connection

                                   9   therewith shall be the property of Connected.” Id. at 7 (TTA § 2.7.4). However, it also provided

                                  10   that

                                  11          Kinetech shall have the right to join in the prosecution of any claims referred to in
                                              the foregoing sentence, provided that Kinetech shall bear its own costs and
                                  12          expenses, including the cost of any separate counsel, and provided, further, that in
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                                              the event Kinetech wishes to join in the prosecution of such claims without
                                  13          engaging separate counsel, Kinetech shall share equally with Connected the cost of
                                              prosecuting any such claims. Each party shall cooperate with the other in
                                  14          connection with any infringement suits or claims involving the Invention or the
                                              Software.
                                  15

                                  16   Id.

                                  17          In 1999, IBM and the Hewlett-Packard Company (“HP”) entered into a cross-license that

                                  18   granted to IBM

                                  19                               Adamo MTD Decl., Ex. 8 at 3 (Cross-License § 2.1(a)).

                                  20

                                  21                                             Id. at 2 (Cross-License § 1.5(b)).

                                  22          On September 1, 2000, Kinetech entered into an agreement with Digital Island, Inc.

                                  23   (“Digital Island”) in which Kinetech assigned a 50% undivided interest in the ’420 patent1 to

                                  24   Digital Island. Adamo MTD Decl., Ex. 1. Digital Island assigned its 50% undivided interest to

                                  25

                                  26   1
                                         More specifically, the agreement assigned a 50% undivided interest in U.S. Patent No. 5,978,791
                                  27   “and all counterpart applications, including continuation applications, divisional applications,
                                       reexamination or reissue applications or extensions thereof.” Adamo MTD Decl., Ex. 1 at 1. The
                                  28   ’420 patent is a continuation of U.S. Patent No. 6,928,442, which is a continuation of U.S. Patent
                                       No. 6,415,280, which is a division of U.S. Patent No. 5,978,791. ’420 patent.
                                                                                         4
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                                   1   Savvis Asset Holdings, Inc. on February 13, 2004, which then assigned its interest to Mount

                                   2   Shasta Acquisition, LLC on January 22, 2007, which merged with Level 3 that same day. Adamo

                                   3   MTD Decl., Exs. 2, 3. On July 5, 2011, Kinetech assigned its own 50% undivided interest the

                                   4   ’420 patent to PersonalWeb. Adamo MTD Decl., Ex. 4.

                                   5          Meanwhile, the rights granted under the TTA changed hands several times. In November

                                   6   2004, Iron Mountain, Inc. (“IM”) acquired Connected, including the TTA. Adamo MTD Decl..

                                   7   Ex. 6 at 1. In May 2011, Autonomy, Inc. (“Autonomy”) purchased the digital assets of IM,

                                   8   including the TTA. Id. at 2. In October 2011, HP acquired Autonomy, including the TTA.

                                   9   Adamo MTD Decl.. Ex. 7 at 1.

                                  10          In August 2012, PersonalWeb initiated an arbitration against IM, alleging material breach

                                  11   of the TTA and related claims. Adamo MTD Decl.. Ex. 6 at 2. The arbitration ended in a

                                  12   settlement agreement between PersonalWeb, IM, Autonomy, and HP, dated May 19, 2014, in
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                                  13   which IM, Autonomy, and HP agreed to “transfer and assign to PersonalWeb[] the TTA and any

                                  14   license rights included therein.” Id. at 9 (Settlement Agreement § 5.1.1). Thus, as of May 19,

                                  15   2014, PersonalWeb not only held a 50% undivided interest in the ’420 patent, but also obtained

                                  16   the exclusive field of use license granted under the TTA. See id.

                                  17          B.    Procedural History
                                  18          Meanwhile, on September 17, 2012, Plaintiffs (PersonalWeb and Level 3) initiated the

                                  19   instant lawsuit in the Eastern District of Texas, claiming that IBM infringed the ’420 patent, as

                                  20   well as U.S. Patent Nos. 5,978,791 (the “’791 patent”); 6,415,280 (the “’280 patent”); 6,928,442

                                  21   (the “’442 patent”); and 7,802,310 (the “’310 patent”). Dkt. No. 1. On September 3, 2013,

                                  22   Plaintiffs amended their Complaint to additionally accuse IBM of infringing U.S. Patent Nos.

                                  23   7,945,539 (the “’539 patent”); 7,945,544 (the “’544 patent”); 7,949,662 (the “’662 patent”); and

                                  24   8,001,096 (the “’096 patent”).2 Dkt. No. 29 ¶¶ 1, 48. The Amended Complaint identified TSM,

                                  25   as well as eight other IBM products,3 as infringing each of the nine Originally Asserted Patents.

                                  26
                                  27
                                       2
                                         Hereinafter, the Court will refer to the ’420, ’791, ’280, ’442, ’539, ’544, ’662, and ’096 patents
                                       collectively as the “Originally Asserted Patents.”
                                       3
                                  28     Specifically, the accused products named were: (1) IBM Content Management CommonStore,
                                       (2) TSM, (3) the IBM Lucene Search Engine, (4) IBM Solr, (5) IBM ISS products and services,
                                                                                           5
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                                   1   Id. at ¶¶ 1, 9.

                                   2           PersonalWeb4 served Infringement Contentions on June 28, 2013, identifying seven of the

                                   3   Originally Accused Products5 as infringing five of the Originally Asserted Patents.6 Adamo MSJ

                                   4   Decl. Exs. 1-2. PersonalWeb supplemented its Infringement Contentions on November 19, 2013,

                                   5   adding accused products and modifying the list of asserted claims. Adamo MSJ Decl. Exs. 3-4.

                                   6           On March 11, 2016, Judge Gilstrap in the Eastern District of Texas issued a claim

                                   7   construction order. Dkt. No. 103. Four days later, Judge Gilstrap transferred this case to this

                                   8   district. Dkt. No. 107.

                                   9           On May 31, 2016, PersonalWeb sought leave in this district to amend its Infringement

                                  10   Contentions to (1) make clarifying changes related to certain terms that were construed by Judge

                                  11   Gilstrap, (2) add an accused product, and (3) add claims asserted against TSM. Dkt. No. 139.

                                  12   Magistrate Judge Cousins granted PersonalWeb’s first request, but denied the remaining two.
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                                  13   Dkt. No. 160. PersonalWeb served amended infringement contentions pursuant to Judge

                                  14   Cousins’s order on August 11, 2016. Dkt. Nos. 189-3, 188-6.

                                  15           That fall, the parties took steps to narrow the case. In a letter dated September 4, 2016,

                                  16   PersonalWeb agreed to limit the accused products to TSM and CommonStore. JSUF ¶ 26. In an

                                  17   email dated October 19, 2016, PersonalWeb stated that it would not pursue infringement claims

                                  18   against CommonStore. JSUF ¶ 27. Fact discovery closed on December 6, 2016. Dkt. Nos. 165,

                                  19   175, 176. On December 9, 2016, PersonalWeb served an expert report on infringement, in which

                                  20   it only covered infringement of claim 166 of the ’420 patent by TSM. Adamo MSJ Decl., Ex. 5.

                                  21   Expert discovery closed on February 24, 2017. Dkt. Nos. 165, 208.

                                  22

                                  23   (6) IBM SQL Extension Toolkit for the Netezza platform, (7) IBM Softlayer Technologies Cloud
                                       Storage products and services, and (8) ProtecTIER. Dkt. No. 29. Hereinafter, the Court will refer
                                  24   to all eight products collectively as the “Originally Accused Products.”
                                       4
                                         Only PersonalWeb is identified in the title, text, and signature block of these contentions.
                                  25   Adamo MSJ Decl. Ex. 1. Thus, only PersonalWeb served infringement contentions against IBM.
                                       This is consistent with IBM’s representation that “Level 3 is not asserting any of its rights in the
                                  26   ’420 patent against IBM in this case. For all intents and purposes, PersonalWeb is the sole active
                                       plaintiff.” Dkt. No. 212 at 1 n.2.
                                       5
                                  27     Specifically: (1) IBM Content Management CommonStore, (2) TSM, (3) the IBM Lucene Search
                                       Engine, (4) IBM Solr, (5) IBM ISS products and services, (6) IBM Softlayer Technologies Cloud
                                  28   Storage products and services, and (7) ProtecTIER. Def MSJ Ex. 3 at 1.
                                       6
                                         Specifically: the ’420, ’791, ’280, ’442, and ’310 patents. Def MSJ Ex. 3 at 1.
                                                                                          6
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                                   1           Meanwhile, claims 1-3, 29 and 35 of the ’791 patent and claims 1 and 10 of the ’280 patent

                                   2   were invalidated through inter partes review and/or reexamination proceedings. Dkt. No. 215.

                                   3   The parties stipulated to dismissing these claims with prejudice, which the Court granted on

                                   4   March 6, 2017. Dkt. No. 219. The parties have not stipulated to dismissal of any other claims in

                                   5   this case.

                                   6           IBM now moves to dismiss all of PersonalWeb’s infringement claims for lack of

                                   7   prudential standing under 35 U.S.C. § 281. Dkt. No. 212. IBM also moves for partial summary

                                   8   judgment that (1) IBM’s manufacture, sale, importation, and/or offer for sale of TSM software

                                   9   does not infringe claim 166 of the ’420 patent; (2) TSM does not infringe claim 166 of the ’420

                                  10   patent under the doctrine of equivalents; (3) IBM does not indirectly or jointly infringe claim 166

                                  11   of the ’420 patent; (4) TSM without the “client-side deduplication” feature does not infringe claim

                                  12   166 of the ’420 patent; (5) the claims no longer asserted by PersonalWeb and not yet dismissed are
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                                  13   not infringed; and (6) IBM has not willfully infringed claim 166 of the ’420 patent. Dkt. No. 218.

                                  14    II.    LEGAL STANDARD
                                  15          A.    Federal Rule of Civil Procedure 12(b)(6)
                                  16           Federal Rule of Civil Procedure 8(a) requires a plaintiff to plead each claim with sufficient

                                  17   specificity to “give the defendant fair notice of what the ... claim is and the grounds upon which it

                                  18   rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Although particular detail is not

                                  19   generally necessary, the factual allegations “must be enough to raise a right to relief above the

                                  20   speculative level” such that the claim “is plausible on its face.” Id. at 556-57. A complaint which

                                  21   falls short of the Rule 8(a) standard may be dismissed if it fails to state a claim upon which relief

                                  22   can be granted. Fed. R. Civ. P. 12(b)(6). Dismissal of a claim under Rule 12(b)(6) may be based

                                  23   on a “lack of a cognizable legal theory or the absence of sufficient facts alleged under a cognizable

                                  24   legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988); see

                                  25   Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).

                                  26           When deciding whether to grant a motion to dismiss, the court generally “may not consider

                                  27   any material beyond the pleadings.” Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d

                                  28   1542, 1555 n.19 (9th Cir. 1990). However, the court may consider material submitted as part of
                                                                                          7
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                                   1   the complaint or relied upon in the complaint, and may also consider material subject to judicial

                                   2   notice. See Lee v. City of Los Angeles, 250 F.3d 668, 688-89 (9th Cir. 2001). In the event that a

                                   3   motion to dismiss is granted, “leave to amend should be granted ‘unless the court determines that

                                   4   the allegation of other facts consistent with the challenged pleading could not possibly cure the

                                   5   deficiency.’” DeSoto v. Yellow Freight Sys., Inc., 957 F.2d 655, 658 (9th Cir. 1992) (quoting

                                   6   Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986)).

                                   7          B.    Federal Rule of Civil Procedure 56
                                   8          A motion for summary judgment should be granted if “there is no genuine dispute to any

                                   9   material fact and the movant is entitled to a judgment as a matter of law.” Fed. R. Civ. R. 56(c);

                                  10   Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir. 2000). The moving party bears the

                                  11   initial burden of informing the court of the basis for the motion and identifying the portions of the

                                  12   pleadings, depositions, answers to interrogatories, admissions, or affidavits that demonstrate the
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                                  13   absence of a triable issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

                                  14          If the moving party meets this initial burden, the burden then shifts to the non-moving

                                  15   party to go beyond the pleadings and designate specific materials in the record to show that there

                                  16   is a genuinely disputed fact. Fed. R. Civ. P. 56(c); Celotex, 477 U.S. at 324. The court must draw

                                  17   all reasonable inferences in favor of the party against whom summary judgment is sought.

                                  18   Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). However, the mere

                                  19   suggestion that facts are in controversy, as well as conclusory or speculative testimony in

                                  20   affidavits and moving papers, is not sufficient to defeat summary judgment. See Thornhill Publ’g

                                  21   Co. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979). Instead, the non-moving party must come

                                  22   forward with admissible evidence to satisfy the burden. Fed. R. Civ. P. 56(c); see also Hal Roach

                                  23   Studios, Inc. v. Feiner & Co., Inc., 896 F.2d 1542, 1550 (9th Cir. 1990).

                                  24          A genuine issue for trial exists if the non-moving party presents evidence from which a

                                  25   reasonable jury, viewing the evidence in the light most favorable to that party, could resolve the

                                  26   material issue in his or her favor. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248-49

                                  27   (1986); see also Barlow v. Ground, 943 F.2d 1132, 1134-36 (9th Cir. 1991). Conversely,

                                  28   summary judgment must be granted where a party “fails to make a showing sufficient to establish
                                                                                         8
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                                   1   the existence of an element essential to that party's case, on which that party will bear the burden

                                   2   of proof at trial.” Celotex, 477 U.S. at 322.

                                   3   III.   DISCUSSION
                                   4          A.     Motion to Dismiss
                                   5          IBM moves to dismiss PersonalWeb’s7 infringement claims on the grounds that it did not

                                   6   have standing under 35 U.S.C. § 281 at the time it filed this lawsuit in September 2012.

                                   7               i.   Legal Principles
                                   8          Under § 281, only a “patentee” has standing to sue for patent infringement. 35 U.S.C.

                                   9   § 281. This creates a prudential standing requirement that a plaintiff in a patent infringement

                                  10   action must satisfy in addition to Article III standing. Alps S., LLC v. Ohio Willow Wood Co., 787

                                  11   F.3d 1379, 1382 (Fed. Cir. 2015), cert. denied, 136 S. Ct. 897, 193 L. Ed. 2d 790 (2016).

                                  12          A “patentee” may be the person to whom the patent issued, or “successors in title to the
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                                  13   patentee.” 35 U.S.C. § 100(d); Mentor H/S, Inc. v. Med. Device All., Inc., 240 F.3d 1016, 1017

                                  14   (Fed. Cir. 2001). “Successors in title” not only include assignees (of either the patent or an

                                  15   undivided interest in the patent), but also exclusive licensees when the exclusive license is “given

                                  16   under such terms that the license is tantamount to an assignment of the patent[] to the exclusive

                                  17   licensee.” Alfred E. Mann Found. For Sci. Research v. Cochlear Corp., 604 F.3d 1354, 1359

                                  18   (Fed. Cir. 2010). An exclusive license is “tantamount to an assignment” when it transfers “all

                                  19   substantial rights” in the patent. Id.

                                  20          The Federal Circuit has established that “a patent may not have multiple separate owners

                                  21   for purposes of determining standing to sue.” Mann Found. for Scientific Research, 604 F.3d at

                                  22   1359. Thus, in the case where a patent is subject to an exclusive license, it is either the case that

                                  23   “the licensor did not transfer ‘all substantial rights’ to the exclusive licensee, in which case the

                                  24   licensor remains the owner of the patent and retains the right to sue for infringement, or [that] the

                                  25

                                  26
                                       7
                                         According to IBM, “Level 3 is not asserting any of its rights in the ’420 patent against IBM in
                                       this case. For all intents and purposes, PersonalWeb is the sole active plaintiff.” Dkt. No. 212 at 1
                                  27   n.2. PersonalWeb did not disagree with (or otherwise respond to) this statement. Accordingly, the
                                       Court construes IBM’s motions as only seeking relief with respect to the claims asserted by
                                  28   PersonalWeb. This Court reaches no decision as to claims which may be pending between Level
                                       3 and IBM.
                                                                                        9
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                                   1   licensor did transfer ‘all substantial rights’ to the exclusive licensee, in which case the licensee

                                   2   becomes the owner of the patent for standing purposes and gains the right to sue on its own.” Id.

                                   3   at 1359-60. The party who possesses “all substantial rights” may sue on its own without joining

                                   4   the other; the party who does not possess “all substantial rights” may still sue, as long as the other

                                   5   is joined.8 See Mann Found. for Scientific Research, 604 F.3d at 1360; Mentor H/S, Inc., 240 F.3d

                                   6   at 1017.

                                   7           To determine whether an exclusive license has transferred “all substantial rights,” the

                                   8   Court “must ascertain the intention of the parties and examine the substance of what was granted.”

                                   9   Aspex Eyewear, Inc. v. Miracle Optics, Inc., 434 F.3d 1336, 1340 (Fed. Cir. 2006). The Federal

                                  10   Circuit has offered the following guidance:

                                  11           [T]ransfer of the exclusive right to make, use, and sell products or services under
                                               the patent is vitally important to an assignment. . . . We have also examined the
                                  12           scope of the licensee’s right to sublicense, the nature of license provisions regarding
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                                               the reversion of rights to the licensor following breaches of the license agreement,
                                  13           the right of the licensor to receive a portion of the recovery in infringement suits
                                               brought by the licensee, the duration of the license rights granted to the licensee,
                                  14           the ability of the licensor to supervise and control the licensee’s activities, the
                                               obligation of the licensor to continue paying patent maintenance fees, and the nature
                                  15           of any limits on the licensee’s right to assign its interests in the patent. . . .
                                               Frequently, though, the nature and scope of the exclusive licensee’s purported right
                                  16           to bring suit, together with the nature and scope of any right to sue purportedly
                                               retained by the licensor, is the most important consideration. . . . Where the licensor
                                  17           retains a right to sue accused infringers, that right often precludes a finding that all
                                               substantial rights were transferred to the licensee.
                                  18
                                  19   Mann Found. for Scientific Research, 604 F.3d at 1360-61 (citations omitted).

                                  20           In addition, and particularly relevant here, the Federal Circuit has held in several instances

                                  21   that exclusive licenses with field of use restrictions do not confer “all substantial rights.” Alps S.,

                                  22   787 F.3d at 1383 (field of use restriction for “prosthetic liners” in exclusive license was “fatal” to

                                  23   § 281 standing); A123 Sys., Inc. v. Hydro-Quebec, 626 F.3d 1213, 1217 (Fed. Cir. 2010)

                                  24

                                  25   8
                                         The same is not true in the case of a non-exclusive license. A nonexclusive licensee does not
                                  26   have standing to sue, even if the patent owner is joined. Mann Found. For Sci. Research, 604
                                       F.3d at 1360 (citing Propat Int’l Corp. v. RPost, Inc., 473 F.3d 1187, 1193-94 (Fed. Cir. 2007))
                                  27   (“The first step is to determine whether the license is exclusive or nonexclusive, because AB, as
                                       the licensee, would have no right to sue, even by joining AMF, under a nonexclusive license
                                  28   agreement.”); Waterman v. Mackenzie, 138 U.S. 252, 255, 11 S. Ct. 334, 335, 34 L. Ed. 923
                                       (1891)
                                                                                         10
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                                   1   (affirming district court finding that exclusive license was a field of use license and thus did not

                                   2   transfer “all substantial rights”); Int’l Gamco, Inc. v. Multimedia Games, Inc., 504 F.3d 1273,

                                   3   1280 (Fed. Cir. 2007) (exclusive license with a field of use restriction for “lottery games” where

                                   4   the patent “extend[ed] beyond that limitation” did not confer all substantial rights). This is in part

                                   5   because “allowing a licensee, even one with exclusive rights to the patent for a particular field of

                                   6   use, to sue in its own name alone poses a substantial risk of multiple suits and multiple liabilities

                                   7   against an alleged infringer for a single act of infringement.” Int’l Gamco, 504 F.3d at 1278.

                                   8              ii.   Application
                                   9          Here, IBM argues that PersonalWeb lacks prudential standing under § 281 because, at the

                                  10   time PersonalWeb filed suit in September 2012, it did not hold “all substantial rights.” Mot. at 7-

                                  11   9. IBM argues this is the case because in 1996 the TTA granted an exclusive license in the field of

                                  12   use of “online backup and file recovery.” Id. Because the accused product, TSM, falls within this
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                                  13   field, IBM contends that PersonalWeb did not have “all substantial rights” to assert the ’420 patent

                                  14   against IBM with respect to this product in 2012. Id.

                                  15          PersonalWeb disagrees, arguing that the TTA did not transfer “all substantial rights”

                                  16   because it was a limited, field-of-use license and Kinetech (PersonalWeb’s predecessor in interest)

                                  17   still retained its 50% undivided ownership interest in the ’420 patent. Opp. at 7.

                                  18          The Court agrees with PersonalWeb that the TTA did not transfer “all substantial rights” to

                                  19   Connected (and that, instead, “all substantial rights” remained with Kinetech). The TTA is a field

                                  20   of use license. See Ex. 5 at at 2 (TTA § 2.1) (“. . . but such license is limited solely for the

                                  21   purposes of developing and operating value-added, online backup and file recovery products and

                                  22   services . . .”). Thus, it falls under the “clear rule” established and followed in several Federal

                                  23   Circuit cases that field of use licenses do not confer “all substantial rights.” See Alps S., 787 F.3d

                                  24   at 1383; A123 Sys., 626 F.3d at 1217; Int’l Gamco, 504 F.3d at 1280. Just as, in those cases,

                                  25   allowing the field of use licensee to sue in his own name would create the risk of multiple suits

                                  26   against an alleged infringer, here too allowing an exclusive licensee in the field of “online backup

                                  27   and file recovery” to sue in his own name would create the risk of multiple suits because claim

                                  28   166 recites an invention that could be applied in more contexts than just “online backup and file
                                                                                          11
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                                   1   recovery.” Thus, this Court finds that the Federal Circuit’s conclusions that the field of use

                                   2   exclusive licenses did not transfer “all substantial rights” in those cases compel the same

                                   3   conclusion here.9

                                   4           Moreover, even if this precedent were not controlling, the Court would still find, based on

                                   5   other Federal Circuit guidance, that Kinetech retained “all substantial rights” after the TTA. The

                                   6   Federal Circuit has observed that “[f]requently . . . the nature and scope of the exclusive licensee’s

                                   7   purported right to bring suit, together with the nature and scope of any right to sue purportedly

                                   8   retained by the licensor, is the most important consideration” in determining whether “all

                                   9   substantial rights” have been transferred. Mann Found. for Scientific Research, 604 F.3d at 1361.

                                  10   Here, the TTA granted Connected “the right, at its own expense, to prosecute any infringer who is

                                  11   infringing on the Licensed Use or the Software and any recovery in connection therewith shall be

                                  12   the property of Connected.” Id. at 7 (TTA § 2.7.4). However, “Kinetech reserve[d] all other
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                                  13   rights not expressly granted to Connected,” including the right to sue infringers for uses other than

                                  14   the “Licensed Use.” Id. at 2 (TTA § 2.1). In addition, the TTA provided Kinetech “the right to

                                  15   join in the prosecution of any claims” for infringement brought by Connected pursuant to § 2.7.4

                                  16   and required the parties to “cooperate . . . with any infringement suits.” Id. at 7 (TTA § 2.7.4).

                                  17   Thus, even within cases of infringement of the TTA’s “Licensed Use,” Kinetech never fully lost

                                  18   its ability to participate as a patent plaintiff.10 Accordingly, given that, under the TTA, Kinetech

                                  19   retained the unfettered right to sue in some instances and participate in a cooperative manner in

                                  20

                                  21   9
                                         The Court is cognizant that, in all of these cases, the Federal Circuit addressed the question of
                                  22   “all substantial rights” from the perspective of the exclusive licensee (i.e., they evaluated whether
                                       an exclusive field of use license transferred “all substantial rights” to the exclusive licensee).
                                  23   Nevertheless, the Court does not find these cases distinguishable on that basis. Because “a patent
                                       may not have multiple separate owners for purposes of determining standing to sue,” Mann
                                  24   Found. for Scientific Research, 604 F.3d at 1359, the Federal Circuit’s conclusion in these cases
                                       that the exclusive licensee did not have “all substantial rights” suggests that the patent owner did
                                  25   have “all substantial rights.” Thus, just as with those cases, the exclusive field of use license here
                                       is not sufficient to transfer “all substantial rights” to the exclusive licensee (Connected) and
                                  26   instead they were retained with the patent owner (Kinetech).
                                       10
                                          The Court nevertheless notes that these provisions make it such that Kinetech must rely on
                                  27   Connected to initiate suit. See id. However, the TTA also provides that “Kinetech shall promptly
                                       notify Connected in writing if it becomes aware that any person is unlawfully infringing upon the
                                  28   Software.” Id. at 7 (TTA § 2.7.4). Thus, Kinetech still retained some ability to influence this
                                       aspect of pursuing infringement claims relating to the “Licensed Use.”
                                                                                            12
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                                   1   others, the Court finds that, on balance, it retained “all substantial rights” in the ’420 patent.

                                   2           Other provisions in the TTA bolster this conclusion. The Federal Circuit has named a

                                   3   number of other considerations relevant to the question of whether an exclusive license transfers

                                   4   “all substantial rights,” including

                                   5           the scope of the licensee’s right to sublicense, the nature of license provisions
                                               regarding the reversion of rights to the licensor following breaches of the license
                                   6           agreement, the right of the licensor to receive a portion of the recovery in
                                               infringement suits brought by the licensee, the duration of the license rights granted
                                   7           to the licensee, the ability of the licensor to supervise and control the licensee’s
                                               activities, the obligation of the licensor to continue paying patent maintenance fees,
                                   8           and the nature of any limits on the licensee’s right to assign its interests in the
                                               patent.
                                   9

                                  10   Mann Found. for Scientific Research, 604 F.3d at 1360-61 (citations omitted). In this case, some

                                  11   of these considerations weigh in favor of finding that Kinetech transferred “all substantial rights”

                                  12   to Connected: Connected received the proceeds from infringement suits, id. at 7 (TTA § 2.7.4);
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                                  13   Connected’s license was “perpetual,” id. at 2 (TTA § 2.1); and Kinetech did not reserve the right

                                  14   to supervise and control Connected’s use of the invention of the ’420 patent, see id. However, a

                                  15   more substantial remainder of these considerations counsels in the opposite direction: the TTA

                                  16   granted Connected a right to sublicense, but only in the field of use, id. at 2 (TTA § 2.1); rights in

                                  17   the ’420 patent reverted to Kinetech in the case of material breach, with the exception of those

                                  18   “reasonably necessary to perform . . . obligations existing as of the effective date of the

                                  19   termination,” see id. at 6 (TTA § 2.5.1); Kinetech retained “sole control” over patent prosecution

                                  20   activities, as well as the responsibility for paying maintenance fees, id. at 3-4 (TTA §§ 2.2.1,

                                  21   2.2.5); and Connected could not transfer its rights under the TTA “without the express prior

                                  22   written consent of Kinetech, which consent shall not be unreasonably withheld, conditioned, or

                                  23   delayed,” id. at 8 (TTA § 4). Thus, the weight of these other provisions counsel in favor of

                                  24   finding that the TTA did not transfer “all substantial rights” to Connected. Instead, their sum total

                                  25   reflects a desire to only provide an isolated portion of the bundle of rights of the ’420 patent to

                                  26   Connected, while still retaining Kinetech’s status as owner of the ’420 patent. Thus, for this

                                  27   reason as well, the Court finds that Kinetech retained “all substantial rights” in the ’420 patent.

                                  28           IBM’s arguments to the contrary are not persuasive. IBM rests its position on a narrow
                                                                                          13
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                                   1   interpretation of the law on § 281 standing, arguing that the question of whether a patent owner

                                   2   retains “all substantial rights” should be assessed in a context-specific way: “the question is

                                   3   whether the plaintiff has standing to bring this lawsuit against this defendant to allege these

                                   4   claims,” IBM argues. Reply at 2. This, however, is not the law on § 281 standing. Instead, in

                                   5   assessing the question of whether an exclusive license has conferred “all substantial rights,” the

                                   6   Federal Circuit has focused on the grant within the license itself, not the context in which rights

                                   7   extending from the license have been asserted. See, e.g., Alps S., 787 F.3d at 1383-84 (examining

                                   8   entire set of rights granted under exclusive license, without regard to subject matter of accused

                                   9   products); Mann Found. for Scientific Research, 604 F.3d at 1361-63 (same). This makes sense

                                  10   given that “[a] patent ‘is, in effect, a bundle of rights which may be divided and assigned, or

                                  11   retained in whole or part.’” Id. at 1360 (citing Vaupel Textilmaschinen, 944 F.2d at 875).

                                  12   Whether a particular bundle constitutes “’all substantial rights’ in the patent[],” id. at 1359, does
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                                  13   not change based on the way the bundle is used. This also comports with the Federal Circuit’s

                                  14   approach to field of use licenses. As discussed above, the Federal Circuit has generally declined

                                  15   to find that field of use licenses confer “all substantial rights” because “allowing a licensee, even

                                  16   one with exclusive rights to the patent for a particular field of use, to sue in its own name alone

                                  17   poses a substantial risk of multiple suits and multiple liabilities against an alleged infringer for a

                                  18   single act of infringement.” Int’l Gamco, 504 F.3d at 1278. Assessing “all substantial rights” in a

                                  19   context-dependent way would invite precisely this harm, as it would allow multiple exclusive,

                                  20   field of use licensees to sue the same accused infringer if it sold a multi-featured product that

                                  21   covered several fields. This cannot be.

                                  22          Bluestone Innovations LLC v. Nichia Corp., No. C 12-00059 SI, 2013 WL 1729814 (N.D.

                                  23   Cal. Apr. 22, 2013), the sole case that IBM cites in support of its position, does not compel a

                                  24   contrary conclusion. It is true that that case involved an exclusive license with a field of use

                                  25   restriction. However, in that case, the patent owner had also covenanted not to sue in the field of

                                  26   use, and had also conceded that the exclusive licensee “ha[d] the sole right to sue [in the field of

                                  27   use].” Id. at *4 n.1. The court adhered to these concessions, see id. at *4 (“After Bluestone’s

                                  28   concessions . . .”), and thus never decided in the first instance whether the exclusive license with
                                                                                          14
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                                   1   the field of use restriction “transferred all substantial rights.” Thus, this case is distinguishable.

                                   2            For the foregoing reasons, the TTA did not transfer “all substantial rights” in the ’420

                                   3   patent to Connected. Instead, they remained with Kinetech. Accordingly, when PersonalWeb

                                   4   acquired what originally was Kinetech’s 50% undivided ownership interest in the ’420 patent on

                                   5   July 5, 2011, PersonalWeb received “all substantial rights” in the ’420 patent. From that point

                                   6   forward, including when it initiated this lawsuit in September 2012, PersonalWeb was the

                                   7   “patentee” under § 281.11 Thus, it had (and still has) standing to sue. For this reason, IBM’s

                                   8   motion to dismiss is DENIED.

                                   9            B.     Motion for Summary Judgment
                                  10            IBM moves for partial summary judgment that (1) IBM’s manufacture, sale, importation,

                                  11   and/or offer for sale of TSM software does not infringe claim 166 of the ’420 patent; (2) TSM

                                  12   does not infringe claim 166 of the ’420 patent under the doctrine of equivalents; (3) IBM does not
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                                  13   indirectly or jointly infringe claim 166 of the ’420 patent; (4) TSM without the “client-side

                                  14   deduplication” feature does not infringe claim 166 of the ’420 patent; (5) the claims no longer

                                  15   asserted by PersonalWeb and not yet dismissed are not infringed; and (6) IBM has not willfully

                                  16   infringed claim 166 of the ’420 patent.12

                                  17                 i.   Infringement through IBM’s Manufacture, Sale, Importation, and/or Offer
                                                          for Sale of TSM Software
                                  18
                                                IBM moves for partial summary judgment that it does not infringe claim 166 of the ’420
                                  19
                                       patent through its manufacture, sale, importation, or offering for sale of “TSM software.”13 Mot.
                                  20
                                       at 7-9. Because IBM’s motion only asks for partial summary judgment with respect to “TSM
                                  21

                                  22

                                  23
                                       11
                                          Because PersonalWeb, not the holder of the TTA’s exclusive field of use license, was the
                                       “patentee” under § 281 at the time this suit was filed in September 2012, this Court need not reach
                                  24   the parties’ arguments about whether PersonalWeb cured defects in its § 281 standing when it
                                       acquired rights under the TTA in the May 29, 2014 Settlement Agreement.
                                  25
                                       12
                                          As discussed above, IBM represents that “Level 3 is not asserting any of its rights in the ’420
                                       patent against IBM in this case. For all intents and purposes, PersonalWeb is the sole active
                                  26   plaintiff.” Dkt. No. 212 at 1 n.2. PersonalWeb did not disagree with (or otherwise respond to)
                                       this statement. Accordingly, the Court construes IBM’s motions as only seeking relief with
                                  27   respect to the claims asserted by PersonalWeb. This Court reaches no decision as to claims which
                                       may be pending between Level 3 and IBM.
                                       13
                                  28      IBM does not move for summary judgment that its own use of TSM software does not infringe
                                       the ’420 patent. Mot. at 7 n.52.
                                                                                         15
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                                   1   software,” the Court construes IBM’s motion as only asking for summary judgment with respect

                                   2   to IBM’s acts of making, selling, importing, and offering to sell TSM software, as opposed to

                                   3   combinations of TSM software and hardware running that software that IBM may also provide to

                                   4   its customers. Whether these software and hardware combinations are also “TSM” as accused in

                                   5   PersonalWeb’s Amended Complaint and whether they directly infringe claim 166 under § 271(a)

                                   6   are questions this Court does not reach.

                                   7           In its motion, IBM argues that it is entitled to summary judgment because “TSM software”

                                   8   is only software and claim 166 requires “hardware.” Mot. at 7-8. The word “hardware” appears

                                   9   in only the first portion of claim 166, which recites:

                                  10           166. A system comprising hardware, including at least a processor, and software,
                                               in combination with said hardware to:
                                  11
                                       ’420 patent, col. 56 ll. 51-53 (emphasis added). According to IBM, “hardware” is a meaningful,
                                  12
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                                       structural limitation in claim 166 because the preamble of claim 166 ends after “comprising” and
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                                  13
                                       thus, “hardware” appears in the body of the claim. Id. at 8. IBM alternatively argues that, even if
                                  14
                                       the preamble of claim 166 extends to the colon (and thus, “hardware” was part of the preamble),
                                  15
                                       “hardware” still meaningfully limits the scope of the claim because the preamble as such is
                                  16
                                       limiting. Id. at 8-9.
                                  17
                                               PersonalWeb offers several responses to IBM’s noninfringement theory. First,
                                  18
                                       PersonalWeb argues that IBM waived this interpretation of “hardware” by not raising it at claim
                                  19
                                       construction. Second, PersonalWeb argues that “hardware” is not a meaningful limitation because
                                  20
                                       it appears in a non-limiting preamble. According to PersonalWeb, the preamble of claim 166 ends
                                  21
                                       at the colon, and the preamble is not limiting because it falls within the Federal Circuit line of
                                  22
                                       cases finding preambles not limiting where (1) they only describe how the apparatus will be used,
                                  23
                                       (2) the preamble does not affect the structure or steps of the claimed invention, and/or (3) they do
                                  24
                                       not “provide antecedent basis for and are necessary to understand positive limitations” for any
                                  25
                                       limitations in the body of the claims. Opp. at 7-11. Third, PersonalWeb argues that, even if the
                                  26
                                       Court were to find the preamble limiting, the phrase “hardware” only limits the environment in
                                  27
                                       which the rest of the claim operates and does not require that there be physical, hardware
                                  28
                                                                                         16
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                                   1   components. Id. at 11-13. Finally, PersonalWeb argues that, even if the Court were to find the

                                   2   preamble limiting and that it imposed the structural requirement that covered embodiments must

                                   3   include “hardware,” summary judgment is still inappropriate because there are material factual

                                   4   disputes about whether TSM infringes claim 166. Id. at 13-16.

                                   5            The Court first addresses IBM’s and PersonalWeb’s arguments about whether and the

                                   6   extent to which “hardware” limits claim 166, and then addresses whether, under the proper

                                   7   interpretation, summary judgment is warranted.

                                   8                     a. The “Hardware” Requirement
                                   9            The parties dispute several things: (1) waiver; (2) what constitutes the preamble of claim

                                  10   166; (3) whether that preamble is limiting; and (4) if the preamble is limiting, whether it limits

                                  11   structure or only the environment in which the remaining limitations operate. The Court addresses

                                  12   each in turn.
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                                  13            On the first issue, the Court declines to find waiver. Although questions of what

                                  14   constitutes the preamble and whether the preamble is limiting are claim construction issues that

                                  15   IBM could have and should have raised at Markman, this does not necessarily preclude IBM from

                                  16   raising them now. Waiver is a discretionary doctrine, and “a district court may engage in claim

                                  17   construction during various phases of litigation.” Conoco, Inc. v. Energy & Envtl. Int’l, L.C., 460

                                  18   F.3d 1349, 1359 (Fed. Cir. 2006). Here, the Court finds that PersonalWeb had sufficient notice

                                  19   that “hardware” may be a meaningful term, as it addressed this limitation in both its infringement

                                  20   contentions and its expert report. See Adamo MSJ Decl., Ex. 2 at 1-2, Ex. 4 at 1-3; Christoff MSJ

                                  21   Decl., Ex. 5 at 56-59; Dkt. No. 188-6 at 1-2. Thus, the Court declines to find that IBM waived this

                                  22   argument.

                                  23            Turning to the second issue, the Court agrees with PersonalWeb that the preamble of claim

                                  24   166 ends at the colon. The Court is unpersuaded that, under Federal Circuit law, either the colon

                                  25   (as PersonalWeb argues) or the word “comprising” (as IBM argues) serves as a bright-line

                                  26   delimiter for where the preamble ends and the body of the claim begins.14 Nevertheless, reading

                                  27
                                  28
                                       14
                                         Specifically, contrary to PersonalWeb’s arguments, the statement in Application of Dean, 291
                                       F.2d 947, 951 (C.C.P.A. 1961) that the preamble includes “all that portion at the beginning of the
                                                                                      17
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                                   1   claim 166 in its entirety makes clear that the language leading up to the colon provides

                                   2   “introductory words,” Corning Glass Works v. Sumitomo Elec. U.S.A., Inc., 868 F.2d 1251, 1257

                                   3   (Fed. Cir. 1989), which apply equally as context for each of the remaining portions of the claim.

                                   4   Thus, the most sensible reading of the claim is that the preamble ends at the colon. The structure

                                   5   of claim 166 also suggests that the preamble ends at the colon, and it is followed by reference

                                   6   characters “(A),” “(a1),” and “(a2)” which can be used to identify claim body elements. See

                                   7   MPEP § 608.01(m); see also Christoff Decl., Ex. 1 § 2.8. Thus, the preamble of claim 166 ends at

                                   8   the colon.

                                   9           This leads to the third issue: whether this preamble is limiting. The Federal Circuit “has

                                  10   recognized that as a general rule preamble language is not treated as limiting.” Aspex Eyewear,

                                  11   Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335, 1347 (Fed. Cir. 2012). Whether certain preamble

                                  12   language falls outside this rule (i.e., should be treated as limiting) is effectively a claim
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                                  13   construction question, “resolved only on review of the entire[] . . . patent to gain an understanding

                                  14   of what the inventors actually invented and intended to encompass by the claim.” Catalina Mktg.

                                  15   Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002) (internal citations omitted).

                                  16   Unfortunately, “[n]o litmus test defines when a preamble limits claim scope.” Id. However, the

                                  17   Federal Circuit has offered the following guideposts:

                                  18           In general, a preamble limits the invention if it recites essential structure or steps, or
                                               if it is “necessary to give life, meaning, and vitality” to the claim. Conversely, a
                                  19           preamble is not limiting “where a patentee defines a structurally complete invention
                                               in the claim body and uses the preamble only to state a purpose or intended use for
                                  20           the invention.” . . .
                                  21           [D]ependence on a particular disputed preamble phrase for antecedent basis may
                                               limit claim scope because it indicates a reliance on both the preamble and claim body
                                  22           to define the claimed invention. . . .
                                  23           [W]hen the preamble is essential to understand limitations or terms in the claim body,
                                               the preamble limits claim scope.
                                  24

                                  25

                                  26   claim preceding the colon” was only a statement about the claim at issue in that case, not claims
                                       generally. Contrary to IBM’s arguments, transitional words like “comprising” are generally used
                                  27   to indicate that a claim is open-ended and do not necessarily signal the end of a preamble.
                                       Genentech, Inc. v. Chiron Corp., 112 F.3d 495, 501 (Fed. Cir. 1997) (“‘Comprising’ is a term of
                                  28   art used in claim language which means that the named elements are essential, but other elements
                                       may be added and still form a construct within the scope of the claim.”).
                                                                                        18
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                                              [W]hen reciting additional structure or steps underscored as important by the
                                   1          specification, the preamble may operate as a claim limitation.
                                   2          [C]lear reliance on the preamble during prosecution to distinguish the claimed
                                              invention from the prior art transforms the preamble into a claim limitation because
                                   3          such reliance indicates use of the preamble to define, in part, the claimed invention.
                                              Without such reliance, however, a preamble generally is not limiting when the claim
                                   4          body describes a structurally complete invention such that deletion of the preamble
                                              phrase does not affect the structure or steps of the claimed invention. Thus, preamble
                                   5          language merely extolling benefits or features of the claimed invention does not limit
                                              the claim scope without clear reliance on those benefits or features as patentably
                                   6          significant.
                                   7          [S]tatements of intended use or asserted benefits in the preamble may, in rare
                                              instances, limit apparatus claims, but only if the applicant clearly and unmistakably
                                   8          relied on those uses or benefits to distinguish prior art.
                                   9   Id. at 808-09 (internal citations omitted). In addition, “[w]hen limitations in the body of the claim

                                  10   rely upon and derive antecedent basis from the preamble, then the preamble may act as a

                                  11   necessary component of the claimed invention.” Eaton Corp. v. Rockwell Int’l Corp., 323 F.3d

                                  12   1332, 1339 (Fed. Cir. 2003).
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                                  13          Here, the Court agrees with IBM that the preamble of claim 166 is limiting. Reviewing the

                                  14   ’420 patent in its entirety, the Court finds that the inventors intended the language “hardware,

                                  15   including at least a processor, and software, in combination with said hardware” to be meaningful.

                                  16   The specification explains that “[t]his invention relates to data processing systems,” such as

                                  17   “computers, networks of computers, or the like.” ’420 patent, col. 1 ll. 19, 25-26. The

                                  18   background section of the specification laments various problems associated with context-

                                  19   dependent identification of data items in computer systems, and states that “it is therefore

                                  20   desirable to have a mechanism which allows each processor in a multiprocessor system to

                                  21   determine a common and substantially unique identifier for a data item . . . .” Id., col. 3 ll. 6-11.

                                  22   The detailed description section of the specification describes exemplary hardware arrangements

                                  23   with which the system could be implemented. See, e.g., id., col. 4 l. 50-col. 5 l. 25. Reading

                                  24   claim 166 against this context, it is clear that claim 166 is not intended to be a set of disembodied

                                  25   set of steps, but a solution that is implemented on a computer and deployed in the real world. The

                                  26   only part of claim 166 that intimates this is the “hardware” language in the preamble. Thus, the

                                  27   preamble is “necessary to give life, meaning, and vitality” to the claim. Catalina, 289 F.3d at 808.

                                  28          The Federal Circuit’s conclusion in Pacing Techs., LLC v. Garmin Int’l, Inc., 778 F.3d
                                                                                         19
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                                   1   1021 (Fed. Cir. 2015) bolsters this conclusion. There, the Federal Circuit found that a preamble of

                                   2   an independent claim was limiting where one term in the preamble (“user”) provided antecedent

                                   3   basis for a term in the body of claim and another term in the preamble (“repetitive motion pacing

                                   4   system”) provided antecedent basis for a term in a dependent claim. Id. at 1024 (“Because the

                                   5   preamble terms ‘user’ and ‘repetitive motion pacing system’ provide antecedent basis for and are

                                   6   necessary to understand positive limitations in the body of claims in the ’843 patent, we hold that

                                   7   the preamble to claim 25 is limiting.”). Here, “hardware” in claim 166 provides antecedent basis

                                   8   for a term in the body of dependent claim 167, which recites: “The system of any one of claims

                                   9   146 to 166 wherein the hardware comprises one or more computers.” ’420 patent, col. 57 ll. 14-

                                  10   15. Although it is true that in Pacing Techs. the preamble provided antecedent basis for both

                                  11   limitations in the same claim and in a dependent claim, the Federal Circuit’s reference to the

                                  12   dependent claim suggests that antecedent basis for a dependent claim is still relevant.15 Thus, the
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                                  13   fact that “hardware” provides antecedent basis for claim 167 supports the Court’s conclusion here.

                                  14   Thus, again, the preamble of claim 166 is limiting.

                                  15            PersonalWeb nevertheless argues that the preamble of claim 166 is not limiting because it

                                  16   falls within the Federal Circuit line of cases finding preambles not limiting where (1) they only

                                  17   describe how the apparatus will be used, (2) the preamble does not affect the structure or steps of

                                  18   the claimed invention, and/or (3) they do not “provide antecedent basis for and are necessary to

                                  19   understand positive limitations” for any limitations in the body of the claims. Opp. at 7-11. The

                                  20   Court disagrees. This first set of cases relates primarily to apparatus claims, where the preamble

                                  21   language describes “the purpose or intended use of an invention.” See, e.g., Marrin v. Griffin, 599

                                  22   F.3d 1290, 1292 (Fed. Cir. 2010) (preamble “[a] scratch-off label for permitting a user to write

                                  23   thereon without the use of a marking implement” was not limiting). By contrast, claim 166 is a

                                  24   system claim and “hardware” does not state either a purpose or intended use—instead, it is a

                                  25

                                  26   15
                                         The Court does not, however, read Pacing Techs. as suggesting (as IBM argues, Mot. at 8) that
                                  27   antecedent basis for a dependent claim is always sufficient to render a preamble limiting. Pacing
                                       Techs. is silent on this point, and such a bright-line rule would create tension with the Federal
                                  28   Circuit’s earlier observation that “[n]o litmus test defines when a preamble limits claim scope.”
                                       Catalina Mktg. Int’l, 289 F.3d at 808.
                                                                                           20
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                                   1   component in the claimed system. The second set of cases involve claims where “the preamble

                                   2   merely gives a descriptive name to the set of limitations in the body of the claim that completely

                                   3   set forth the invention.” Am. Med. Sys., Inc. v. Biolitec, Inc., 618 F.3d 1354, 1359 (Fed. Cir. 2010)

                                   4   (internal quotation marks and citation omitted). This is not true of claim 166. “Hardware” is only

                                   5   mentioned in the preamble, so the body of the claim does not completely set forth the invention.

                                   6   The last set of cases is also distinguishable because, as discussed above, “hardware” provides

                                   7   antecedent basis for dependent claim 167. Thus, none of the cases cited by PersonalWeb persuade

                                   8   the Court that the preamble of claim 166 is not limiting.

                                   9          Having found the preamble limiting leads to the fourth disputed issue: the extent to which

                                  10   the preamble limits the scope of claim 166. PersonalWeb contends that the language “hardware,

                                  11   including at least a processor, and software, in combination with said hardware” only limits the

                                  12   environment in which the system of claim 166 operates, but not the structure that its embodiments
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                                  13   must have. Opp. at 11-13. IBM, on the other hand, argues that the limitation is structural. Mot. at

                                  14   7-9; Reply at 3-5.

                                  15          The Court agrees with IBM that “hardware” is a structural requirement. The plain

                                  16   language of claim 166 recites a “system” that “compris[es]” these elements. This stands in

                                  17   contrast to the environment-only cases cited by PersonalWeb, where the claim language made it

                                  18   explicit that it was only describing an environment that existed outside the claim itself. For

                                  19   example, in Advanced Software Design Corp. v. Fiserv, Inc., 641 F.3d 1368, 1373 (Fed. Cir.

                                  20   2011), the preamble recited inputs (i.e., encrypted “selected information” and a “control code”

                                  21   printed on a “financial instrument”) received by the claimed system, not the claimed system itself.

                                  22   In Schumer v. Lab. Computer Sys., Inc., 308 F.3d 1304, 1307 (Fed. Cir. 2002), the preamble

                                  23   described a structural environment (i.e., a “computer” and a “digitizer”) in which the claimed

                                  24   digitizing method operated. In Info. Prot. v. Symantec Corp., No. 2:08-CV-484, 2011 WL

                                  25   13136605, at *3 (E.D. Tex. Nov. 14, 2011), the preamble described the environment “in” which

                                  26   the claimed apparatus operated, not the apparatus itself. Claim 166 stands in contrast to these

                                  27   cases, as it does not explicitly claim “hardware” as only a description of environment. Instead, it

                                  28   expressly requires that “hardware” is part of the claimed system. Thus, “hardware” is a structural
                                                                                        21
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                                   1   requirement.

                                   2          The Court notes, however, that even though “hardware” is a structural limitation, its

                                   3   restriction on claim 166 is minimal. This language is broad and encompasses almost any generic

                                   4   computer implementation that includes “software,” “hardware,” and a “processor.” Thus, it

                                   5   merely requires that the infringing system include these components.

                                   6          In sum, the preamble of claim 166 is limiting and requires a system that includes the

                                   7   structure of “hardware, including at least a processor, and software, in combination with said

                                   8   hardware.”

                                   9                    b. Partial Summary Judgment
                                  10          With this understanding of claim 166, the Court turns to whether IBM is entitled to partial

                                  11   summary judgment. “To support a summary judgment of noninfringement it must be shown that,

                                  12   on the correct claim construction, no reasonable jury could have found infringement on the
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                                  13   undisputed facts or when all reasonable factual inferences are drawn in favor of the patentee.”

                                  14   TechSearch, L.L.C. v. Intel Corp., 286 F.3d 1360, 1371 (Fed. Cir. 2002) (citations omitted).

                                  15          The Court finds that, for its limited partial motion, IBM has met this burden. As discussed

                                  16   above, the Court construes IBM’s motion as only seeking summary judgment with respect to

                                  17   IBM’s acts of making, selling, importing, and offering to sell TSM software, as opposed to

                                  18   combinations of TSM software and hardware running this software that IBM may also provide to

                                  19   its customers. By definition, “software” does not include “hardware,” which is a structural

                                  20   requirement of claim 166. Accordingly, the Court GRANTS IBM’s motion for partial summary

                                  21   judgment that IBM does not infringe claim 166 of the ’420 patent by making, selling, importing,

                                  22   and offering to sell TSM software.

                                  23          The Court nevertheless notes that there may be disputed issues of material fact as to

                                  24   whether instances in which IBM provides both TSM software and hardware that runs TSM

                                  25   software constitute infringement of claim 166. For example, as PersonalWeb identifies in its

                                  26   opposition brief, IBM’s corporate witness, Michael Sisco, testified that “IBM has a division called

                                  27   IBM Global Services which does host servers for some [TSM] customers.” Christoff MSJ Decl.,

                                  28   Ex. 2 at 13:9-14. In addition, IBM promotes pairing TSM with other IBM hardware. See, e.g.,
                                                                                       22
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                                   1   Christoff MSJ Decl., Ex. 4 at 603, 607, 612. However, these questions fall outside the scope of

                                   2   IBM’s motion and the Court declines to decide them.

                                   3              ii.    Doctrine of Equivalents
                                   4          IBM also moves for summary judgment that TSM does not infringe claim 166 of the ’420

                                   5   patent under the doctrine of equivalents. IBM argues that it is so entitled because PersonalWeb

                                   6   did not disclose any doctrine of equivalents theories in either its infringement contentions or its

                                   7   expert report. Mot. at 9-10.

                                   8          PersonalWeb responds that summary judgment is inappropriate because expert testimony

                                   9   is not necessary to prove doctrine of equivalents. Opp. at 17. Thus, PersonalWeb argues, it could

                                  10   still prove doctrine of equivalents at trial. Id. PersonalWeb also argues that its infringement

                                  11   contentions would not preclude it from doing so because it stated in its June 28, 2013 infringement

                                  12   contentions that it “reserves the right to contend that the Accused Instrumentalities still infringe
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                                  13   under the doctrine of equivalents.” Id. at 17-18.

                                  14          The Court agrees with IBM that PersonalWeb’s infringement contentions on doctrine of

                                  15   equivalents are inadequate. In this district, Patent Local Rule 3-1(e) requires disclosure of

                                  16   “[w]hether each limitation of each asserted claim is alleged to be literally present or present under

                                  17   the doctrine of equivalents in the Accused Instrumentality.” Patent L.R. 3-1(e). Blanket

                                  18   reservations of rights are not sufficient. See OptimumPath, LLC v. Belkin Int’l, Inc., No. C 09-

                                  19   01398 CW, 2011 WL 1399257, at *8 (N.D. Cal. Apr. 12, 2011), aff’d, 466 F. App’x 904 (Fed. Cir.

                                  20   2012) (“OptimumPath . . . relies on a blanket statement . . . This language falls short of the

                                  21   requirements of Patent Local Rule 3-1(e).”); Rambus Inc. v. Hynix Semiconductor Inc., 2008 WL

                                  22   5411564, *3 (N.D. Cal. Dec. 29, 2008) (“The Patent Local Rules require a limitation-by-limitation

                                  23   analysis, not a boilerplate reservation.”); MEMC Electronic Materials v. Mitsubishi Materials

                                  24   Silicon Corp., 2004 WL 5363616, *5 (N.D. Cal. Mar. 2, 2004) (“This blanket statement does not

                                  25   identify where each element of each asserted claim is found within each wafer and does not point

                                  26   out each element of each asserted claim that MEMC claims is present under the doctrine of

                                  27   equivalents.”).

                                  28          The fact that this case originated in the Eastern District of Texas does not immunize
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                                   1   PersonalWeb’s shortcomings. Once this case was transferred, this district’s patent local rules

                                   2   governed the case moving forward. See Life Techs. Corp. v. Biosearch Techs., Inc., No. C 12-

                                   3   00852 WHA, 2012 WL 1831595, at *2 (N.D. Cal. May 18, 2012) (applying this district’s patent

                                   4   local rules to infringement contentions after the case transferred from the Eastern District of

                                   5   Texas). At that point, PersonalWeb could have sought leave to amend its infringement

                                   6   contentions so that they complied with the local rules of this district. See, e.g., Life Techs. Corp.,

                                   7   2012 WL 1831595, at *2 (granting leave to amend infringement contentions to comply with

                                   8   additional requirements in this district after transfer from the Eastern District of Texas). It did not

                                   9   do so. PersonalWeb must now bear the consequences of this strategic decision.

                                  10          In this district, the patent local rules “provide[] for a ‘streamlined’ mechanism to replace

                                  11   the ‘series of interrogatories that defendants would likely have propounded’ in its absence.”

                                  12   FusionArc, Inc. v. Solidus Networks, Inc., No. C 06-06760RMW(RS), 2007 WL 1052900, at *2
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                                  13   (N.D. Cal. Apr. 5, 2007). However, “[w]hile the Rules are thereby intended to hasten resolution

                                  14   on the merits, they are not . . . a mechanism for resolving the merits of the parties’ dispute.” Id. It

                                  15   may be the case that failure to comply with the patent local rules sets off a cascading set of

                                  16   preclusive consequences such that summary adjudication is appropriate. Indeed, Courts in this

                                  17   district have cited deficient infringement contentions as additional bases for granting summary

                                  18   judgment of noninfringement with respect to doctrine of equivalents. See, e.g., OptimumPath.,

                                  19   2011 WL 1399257, at *8; Rambus, 2008 WL 5411564 at *3. However, what ultimately governs

                                  20   the summary judgment determination is the standard under Fed. R. Civ. R. 56(c).

                                  21          Here, the Court finds that, even if the Court were to look past PersonalWeb’s failure to

                                  22   comply with the patent local rules, summary judgment is appropriate because PersonalWeb has

                                  23   failed to provide sufficient evidence to create a triable issue of fact that there is infringement under

                                  24   the doctrine of equivalents. In order to prove infringement under doctrine of equivalents, “a

                                  25   patentee must . . . provide particularized testimony and linking argument as to the ‘insubstantiality

                                  26   of the differences’ between the claimed invention and the accused device or process, or with

                                  27   respect to the ‘function, way, result’ test . . . .” Am. Calcar, Inc. v. Am. Honda Motor Co., 651

                                  28   F.3d 1318, 1338 (Fed. Cir. 2011) (internal citations and quotation marks omitted). “The same rule
                                                                                         24
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                                   1   applies in the summary judgment context.” Id. at 1339. Here, PersonalWeb’s expert has not

                                   2   provided an opinion on doctrine of equivalents. JSUF ¶ 49. As such, there is no “particularized

                                   3   testimony and linking argument” that would create a genuine issue of material fact as to

                                   4   infringement under doctrine of equivalents. Am. Calcar, 651 F.3d at 1338. Accordingly, IBM is

                                   5   entitled to summary judgment on this basis.

                                   6           For these reasons, the Court GRANTS IBM’s motion for summary judgment that TSM

                                   7   does not infringe claim 166 of the ’420 patent under the doctrine of equivalents.

                                   8              iii.   Joint Infringement
                                   9           IBM moves for summary judgment that it does not jointly infringe claim 166 of the ’420

                                  10   patent on the grounds that PersonalWeb did not disclose any joint infringement theories in either

                                  11   its infringement contentions or its expert report. Mot. at 11-12.

                                  12           PersonalWeb does not dispute that its expert did not provide separate opinions on joint
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                                  13   infringement, but argues that this is not fatal, because expert opinion is not necessary to support

                                  14   claims of joint infringement. Opp. at 17. PersonalWeb further argues that summary judgment is

                                  15   inappropriate because there are still disputed issues of material fact. Opp. at 18-20. Specifically,

                                  16   PersonalWeb identifies that “IBM business partners operate under a licensing agreement with IBM

                                  17   to deploy IBM software, including TSM, and hardware.” Opp. at 19. It also argues that it did not

                                  18   need to disclose joint infringement in its infringement contentions because it filed its infringement

                                  19   contentions in the Eastern District of Texas, which does not require explicit disclosure of these

                                  20   theories. Id. at 18.

                                  21           The Court agrees with IBM that PersonalWeb’s infringement contentions on joint

                                  22   infringement are deficient. Patent Local Rule 3-1(d) requires that “[i]nsofar as alleged direct

                                  23   infringement is based on joint acts of multiple parties, the role of each such party in the direct

                                  24   infringement must be described.” PersonalWeb’s infringement contentions do not identify any

                                  25   specific parties who act jointly to infringe claim 166, let alone “describe” what their respective

                                  26   “role[s]” are. Thus, they do not comply with Patent Local Rule 3-1(d). Further, for the same

                                  27   reasons discussed above with respect to doctrine of equivalents, this deficiency is not excused by

                                  28   the fact that this case originated in the Eastern District of Texas, as this district’s patent local rules
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                                   1   now govern the case.

                                   2          Regardless, even if the Court were to set aside PersonalWeb’s failure to comply with

                                   3   Patent Local Rule 3-1(d), the Court finds that IBM is entitled to summary judgment because

                                   4   PersonalWeb has not provided sufficient evidence to create a triable issue of fact with respect to

                                   5   joint infringement. In order to be liable under § 271(a) under a joint infringement theory, IBM

                                   6   must be vicariously liable for the actions of others who also take part in the infringement. See

                                   7   Centillion Data Sys., LLC v. Qwest Commc’ns Int’l, Inc., 631 F.3d 1279, 1286 (Fed. Cir. 2011)

                                   8   (“The only way that Centillion can establish ‘use’ by Qwest is if Qwest is vicariously liable for the

                                   9   actions of its customers such that “use” by the customers may be attributed to Qwest.”). Vicarious

                                  10   liability arises when one party controls or directs the actions of another. Id. Here, the only

                                  11   evidence that PersonalWeb points to is that “IBM business partners operate under a licensing

                                  12   agreement.” Opp. at 19. However, there is no evidence that IBM controls or directs the actions of
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                                  13   these business partners. See id. Indeed, the phrase “licensing agreement” suggests the opposite.

                                  14   Deposition testimony from IBM’s corporate witness also suggests that these business partners act

                                  15   independently. See Christoff MSJ Decl., Ex. 2 at 23:23-24:4 (“Business partner is a separate

                                  16   company that works independently of IBM but as a partnership”); id. at 26:7-16 (“So to boil down

                                  17   a typical Spectrum Protect [sic] business partner is there is a licensing agreement with them and

                                  18   they deploy independent, completely independent of IBM. We can certainly consult, but where

                                  19   they deploy is their decision.”). Thus, because there is no evidence that creates a triable issue of

                                  20   material fact with respect to joint infringement, IBM is entitled to summary judgment. IBM’s

                                  21   motion for summary judgment with respect to joint infringement is GRANTED.

                                  22              iv.   Indirect Infringement
                                  23          IBM moves for summary judgment that it does not indirectly infringe claim 166 of the

                                  24   ’420 patent on the grounds that PersonalWeb did not disclose any indirect infringement theories in

                                  25   either its infringement contentions or its expert report. Mot. at 11-12.

                                  26          PersonalWeb does not dispute that its expert did not provide separate opinions on indirect

                                  27   infringement, but argues that this is not fatal, because expert opinion is not necessary to support

                                  28   claims of direct infringement. Opp. at 17. PersonalWeb further argues that summary judgment is
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                                   1   inappropriate because there are still disputed issues of material fact. Opp. at 18-20. It also argues

                                   2   that it did not need to disclose indirect infringement in its infringement contentions because it filed

                                   3   its infringement contentions in the Eastern District of Texas, which does not require explicit

                                   4   disclosure of these theories. Id. at 18.

                                   5           As with doctrine of equivalents and joint infringement, PersonalWeb’s infringement

                                   6   contentions on indirect infringement are deficient. Patent Local Rule 3-1(d) requires “an

                                   7   identification of any direct infringement and a description of the acts of the alleged indirect

                                   8   infringer that contribute to or are inducing that direct infringement.” “[B]oilerplate language

                                   9   asserting indirect infringement” and “‘generic allegations’ that recite the elements of or general

                                  10   theory behind indirect infringement” do not satisfy this requirement. Blue Spike, LLC v. Adobe

                                  11   Sys., Inc., No. 14-CV-01647-YGR(JSC), 2015 WL 335842, at *7 (N.D. Cal. Jan. 26, 2015)

                                  12   (citations omitted). Instead, “Rule 3-1(d) requires facts.” France Telecom, S.A. v. Marvell
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                                  13   Semiconductor, Inc., No. 12-cv-04967 WHA (NC), 2013 WL 1878912, at *5 (N.D. Cal. May 3,

                                  14   2013). PersonalWeb’s infringement contentions make no mention of any indirect infringement

                                  15   theory, let alone provide any “description of the acts of [IBM] that contribute to or are inducing

                                  16   that direct infringement.” As such, they fail to comply with Patent Local Rule 3-1(d). Further, for

                                  17   the same reasons discussed above with respect to doctrine of equivalents, this deficiency is not

                                  18   excused by the fact that this case originated in the Eastern District of Texas, as this district’s patent

                                  19   local rules now govern the case.

                                  20           In addition to the deficient infringement contentions, the Court also agrees that it is

                                  21   troubling that PersonalWeb deliberately chose not to disclose any theories of indirect infringement

                                  22   in its expert report. JSUF ¶ 50; see also JSUF ¶ 51. Down the road, this strategic choice may

                                  23   provide fertile grounds for motion(s) in limine, as well as constrain the ways in which

                                  24   PersonalWeb can prove indirect infringement at trial. Compare, e.g., Nortek Air Sols., LLC v.

                                  25   Energy Lab Corp., No. 14-CV-02919-BLF, 2016 WL 3856250, at *7 (N.D. Cal. July 15, 2016)

                                  26   (“If that expert’s testimony is not found in his or her expert report, that evidence will not be

                                  27   allowed at trial.”).

                                  28           Nevertheless, the Court finds it premature to grant summary judgment based on these
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                                   1   omissions alone. Instead, the Court agrees with PersonalWeb that expert testimony may not be

                                   2   necessary for it to carry it burden of proof at trial as to all of the elements of either inducement or

                                   3   contributory infringement. Specifically, in order to prove inducement, PersonalWeb will need to

                                   4   “show, first that there has been direct infringement, and second that the alleged infringer

                                   5   knowingly induced infringement and possessed specific intent to encourage another’s

                                   6   infringement.” Minnesota Min. & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1304-05 (Fed. Cir.

                                   7   2002). PersonalWeb’s expert has provided an opinion on how the client-deduplication feature of

                                   8   TSM infringes claim 166 of the ’420 patent that is independent of who (i.e., IBM or one of its

                                   9   customers) is using the feature. Whether IBM “knowingly induced” its customers to use this

                                  10   feature and had “specific intent to encourage” this use are not necessarily technical issues, and

                                  11   PersonalWeb may be able to prove through lay testimony. Similarly, in order to prove

                                  12   contributory infringement, PersonalWeb must show “1) that there is direct infringement, 2) that
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                                  13   the accused infringer had knowledge of the patent, 3) that the component has no substantial

                                  14   noninfringing uses, and 4) that the component is a material part of the invention.” Fujitsu Ltd. v.

                                  15   Netgear Inc., 620 F.3d 1321, 1326 (Fed. Cir. 2010). Whether IBM “had knowledge of the [’420]

                                  16   patent” is not necessarily a technical issue, and PersonalWeb’s expert’s opinions may be broad

                                  17   enough to implicate the other elements or IBM may be able to prove them through technical lay

                                  18   witnesses at trial. Accordingly, the Court cannot summarily conclude that PersonalWeb’s failure

                                  19   to provide expert opinion on indirect infringement entitles IBM to summary judgment.

                                  20          Instead, the salient question is whether there exist material questions of fact as to whether

                                  21   IBM indirectly infringes claim 166. The Court finds that there are. For example, with respect to

                                  22   inducement, PersonalWeb identifies that IBM encourages its customers and partners to use the

                                  23   allegedly infringing “client-side deduplication” feature by advertising its benefits, touting it as a

                                  24   “best practice,” and providing instructions on how to configure systems with this feature. Opp. at

                                  25   19 (citing Christoff MSJ Decl., Exs. 7, 14, 15 and Christoff MSJ Decl., Ex. 3 ¶ 40). With respect

                                  26   to contributory infringement, PersonalWeb identifies that the “client-side deduplication”

                                  27   operations have no non-infringing use because “infringement happens each time the routine is

                                  28   performed so long as the ‘client-side deduplication’ is activated” and that IBM makes, offers, and
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                                   1   sells these routes as specifically adapted for use in infringing systems, as evidenced by the

                                   2   promotional materials of its business partners. Opp. at 20 (citing Christoff MSJ Decl., Exs. 10-

                                   3   13). In contrast, IBM has not identified any element of inducement or contributory infringement

                                   4   which is indisputably lacking.16 Accordingly, the Court finds that material questions of fact

                                   5   remain as to indirect infringement. IBM’s motion for summary judgment with respect to indirect

                                   6   infringement is DENIED.

                                   7               v.    Infringement by Other TSM Features
                                   8            IBM moves for partial summary judgment that (a) the “server-side deduplication” feature

                                   9   and (b) all other features besides the “client-side deduplication” feature of TSM do not infringe

                                  10   claim 166 of the ’420 patent. Mot. at 12-13.

                                  11            PersonalWeb does not dispute that only the “client-side deduplication” feature of TSM is

                                  12   accused of infringement, but argues that summary judgment is nevertheless inappropriate because
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                                  13   courts cannot grant summary judgment on a piecemeal basis as to “features” of accused products.

                                  14   Opp. at 20-21.

                                  15            The Court agrees with PersonalWeb that summary judgment is inappropriate. A multi-

                                  16   featured product infringes a claim as long as it includes an infringing feature; the fact that it also

                                  17   includes non-infringing features is irrelevant. Vulcan Engineering Co., Inc. v. Fata Aluminium,

                                  18   Inc., 278 F.3d 1366, 1375 (Fed. Cir. 2002) (“It is irrelevant whether an element has capabilities in

                                  19   addition to that stated in the claim. When the claimed function is performed in the accused system,

                                  20

                                  21   16
                                          The Court finds the arguments that IBM attempts to make in this vein unpersuasive. The Court
                                  22   disagrees that PersonalWeb’s failure to “identify . . . specific customers []or specific ‘business
                                       partners’ that directly infringe,” Reply at 10, is fatal, as PersonalWeb’s expert’s opinions on how
                                  23   the client-deduplication feature of TSM infringes claim 166 of the ’420 patent at least create a
                                       triable issue of fact with respect to direct infringement. The Court also disagrees that “server-side
                                  24   deduplication” indisputably shows that there are non-infringing uses. The proper question under
                                       § 271(c) is whether there are non-infringing uses for the accused feature (“client-side
                                  25   deduplication”), not the multi-featured product as a whole (TSM). Fujitsu Ltd. v. Netgear Inc.,
                                       620 F.3d 1321, 1330 (Fed. Cir. 2010) (“we should analyze contributory infringement based on this
                                  26   separable feature, rather than the entire product”); see, e.g., id. (finding that the “component at
                                       issue here [for § 271(c) purposes] is the specific hardware and software that performs
                                  27   fragmentation” not the entire accused product); i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831,
                                       849 (Fed. Cir. 2010), aff’d, 564 U.S. 91, 131 S. Ct. 2238, 180 L. Ed. 2d 131 (2011) (finding that
                                  28   the relevant “material or apparatus” under § 271(c) was the XML Editor in Microsoft Word, not
                                       the entirety of Microsoft Word).
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                                   1   by the same or equivalent structure, infringement of that claim element is established.”). Thus, as

                                   2   long as TSM includes the “client-side deduplication” feature, it allegedly infringes. That said, if

                                   3   there exist versions of TSM that do not include the “client-side deduplication” feature, summary

                                   4   judgment may be appropriate for those products. However, IBM has not specifically identified

                                   5   any such versions (e.g., by name or product number). Thus, at the very least, IBM has not met its

                                   6   burden as the moving party to show that there is no material dispute that certain, specific versions

                                   7   of TSM do not infringe claim 166. TechSearch, L.L.C. v. Intel Corp., 286 F.3d 1360, 1371 (Fed.

                                   8   Cir. 2002) (citations omitted) (“To support a summary judgment of noninfringement it must be

                                   9   shown that, on the correct claim construction, no reasonable jury could have found infringement

                                  10   on the undisputed facts or when all reasonable factual inferences are drawn in favor of the

                                  11   patentee.”). For this reason, IBM’s motion for summary judgment with respect to other TSM

                                  12   features is DENIED.
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                                  13              vi.   Infringement by Remaining Patents and Products
                                  14          IBM moves for summary judgment of noninfringement for the patent claims and accused

                                  15   products that PersonalWeb no longer asserts. As discussed above, PersonalWeb originally

                                  16   accused the nine Originally Accused Products of infringing the eight Originally Asserted Patents.

                                  17   Dkt No. 29. IBM counterclaimed for declaratory judgment of noninfringement as to all of these

                                  18   patents and products. Dkt. No. 34. At this point, PersonalWeb now only asserts claim 166 of the

                                  19   ’420 patent against TSM. However, with the exception of claims 1-3, 29, and 35 of the ’791

                                  20   patent and claims 1 and 10 of the ’280 patent, the parties have not stipulated to dismiss any of the

                                  21   other claims that PersonalWeb no longer asserts. Dkt. No. 219.

                                  22          IBM argues that it is entitled to summary judgment of noninfringement for the patent

                                  23   claims that PersonalWeb no longer asserts because IBM’s declaratory judgment counterclaims are

                                  24   still live and PersonalWeb, as the patentee, will not be able to bear its burden of proof at trial that

                                  25   these claims are infringed. Mot. at 14-15.

                                  26          PersonalWeb argues that summary judgment is not appropriate and that the Court should

                                  27   instead dismiss these issues as moot. Opp. at 21. It also argues that dismissal as moot is

                                  28   particularly warranted in this case because PersonalWeb amicably agreed to drop these claims
                                                                                          30
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                                   1   after encouragement from IBM, so it would not be fair to now allow IBM to get summary

                                   2   judgment for these claims. Id. at 22.

                                   3          The Court agrees with IBM. PersonalWeb’s Amended Complaint asserted every claim of

                                   4   the eight Originally Asserted Patents, and IBM’s declaratory judgment counterclaims were

                                   5   directed towards every claim as well. Even though PersonalWeb has now elected to not disclose

                                   6   infringement theories (through its infringement contentions and now expert report) as to any claim

                                   7   besides claim 166 of the ’420 patent, all of these other claims (aside from claims 1-3, 29, and 35

                                   8   of the ’791 patent and claims 1 and 10 of the ’280 patent, which have been dismissed with

                                   9   prejudice, Dkt. No. 219) are still live. At trial, PersonalWeb will bear the responsibility of proving

                                  10   that these other claims are infringed, both for its own infringement claims as well as IBM’s

                                  11   declaratory judgment claims for noninfringement. See Medtronic, Inc. v. Mirowski Family

                                  12   Ventures, LLC, 134 S. Ct. 843, 849-50 (2014) (“It is well established that the burden of proving
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                                  13   infringement generally rests upon the patentee. . . . [I]n a licensee’s declaratory judgment action,

                                  14   the burden of proving infringement should remain with the patentee.”). However, because

                                  15   PersonalWeb’s expert report only covers claim 166 of the ’420, it has no evidence upon which it

                                  16   can rely to prove infringement as to these other claims. Accordingly, IBM is entitled to summary

                                  17   judgment of noninfringement for those claims.

                                  18          For these reasons, the Court GRANTS IBM, for each of the Originally Accused Products,

                                  19   summary judgment of noninfringement as to claims 1-165 and 167-178 of the ’420 patent, as well

                                  20   as all valid claims of the ’791, ’280, ’442, ’310, ’539, ’544, ’622, and ’096 patents. The Court

                                  21   also GRANTS IBM, for each of the Originally Accused Products except TSM, summary judgment

                                  22   of noninfringement as to claim 166 of the ’420 patent.

                                  23             vii.   Willful Infringement
                                  24          IBM moves for summary judgment of no willful infringement. It provides two reasons in

                                  25   support: First, IBM argues that PersonalWeb is barred from seeking enhanced damages based on

                                  26   IBM’s post-filing conduct because PersonalWeb did not seek a preliminary injunction. Mot. at

                                  27   17-18. Second, IBM argues that PersonalWeb has provided no evidence of egregious misconduct

                                  28   warranting an award of enhanced damages because (1) its infringement was nothing more than
                                                                                        31
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                                   1   typical; (2) PersonalWeb kept changing its infringement theories, so IBM did not have “actual

                                   2   notice of infringement;” (3) IBM’s non-infringement defenses were reasonable; and (4) IBM’s

                                   3   invalidity defenses were reasonable. Mot. at 18-22.

                                   4          PersonalWeb disagrees, arguing that there is no rigid rule that prevents a plaintiff from

                                   5   recovering enhanced damages based on a failure to seek a preliminary injunction. Opp. at 23.

                                   6   PersonalWeb also takes issue with IBM’s line of second reasoning, arguing that: IBM plainly

                                   7   understood the scope of its infringement theories; IBM’s invalidity defenses were not reasonable,

                                   8   as the PTO has confirmed the patentability of claim 166 in reexamination proceedings; and IBM’s

                                   9   failure to provide evidence regarding the subjective belief of its decisionmakers is fatal to its

                                  10   summary judgment motion. Id. at 24-25.

                                  11          The Court agrees with PersonalWeb that its failure to seek a preliminary injunction does

                                  12   not automatically bar enhanced damages. As the Federal Circuit recently confirmed, “there is no
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                                  13   rigid rule that a patentee must seek a preliminary injunction in order to seek enhanced damages.”

                                  14   Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1296 (Fed. Cir. 2017) (internal citations

                                  15   and quotation marks omitted) (concluding that the district court erred in precluding patentee from

                                  16   presenting evidence of willful infringement because it relied exclusively on post-suit willfulness

                                  17   conduct, and it had not first sought a preliminary injunction).

                                  18          Thus, the relevant question is whether there remain genuine disputes of material fact as to

                                  19   whether IBM’s conduct falls within the class of “egregious cases typified by willful misconduct”

                                  20   warranting enhanced damages under Halo. 136 S.Ct. at 1934. “Determining willfulness is a

                                  21   highly fact-based endeavor.” Erfindergemeinschaft UroPep GbR v. Eli Lilly & Co., No. 2:15-CV-

                                  22   1202-WCB, 2017 WL 841147, at *9 (E.D. Tex. Mar. 3, 2017). In particular, it turns on the

                                  23   subjective belief of the accused infringer, measured at the time of the challenged conduct. Halo,

                                  24   136 S.Ct. at 1933 (“The subjective willfulness of a patent infringer, intentional or knowing, may

                                  25   warrant enhanced damages, without regard to whether his infringement was objectively

                                  26   reckless.”). District courts have, under § 284, the discretion “to punish the full range of culpable

                                  27   behavior” and “courts should continue to take into account the particular circumstances of each

                                  28   case.” Id.
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                                   1          In its interrogatory responses, PersonalWeb identified that IBM “has continued its

                                   2   infringement since at least the filing of the complaint in this action.” JSUF ¶ 53. The parties

                                   3   dispute whether the noninfringement and invalidity defenses that IBM maintains are reasonable.

                                   4   Compare Mot. at 20-21, with Opp. at 24-25. IBM cites to several non-infringement positions in

                                   5   its interrogatories, JSUF ¶ 52 (citing Christoff MSJ Decl., Ex. 9) and touts the fact that inter partes

                                   6   review and reexamination proceedings have been instituted at the U.S. Patent and Trademark

                                   7   Office, Dkt Nos. 47-5, 72-2. Mot. at 20-21. PersonalWeb, on the other hand, points out that

                                   8   IBM’s noninfringement defenses have been rejected in prior cases and that the patentability of

                                   9   claim 166 was ultimately confirmed by the U.S. Patent and Trademark Office during

                                  10   reexamination. Opp. at 24-25. It may very well be that a reasonable factfinder would conclude

                                  11   that, based on this objective evidence, IBM does not subjectively believe it is infringing a valid

                                  12   patent. Compare Erfindergemeinschaft UroPep GbR, No. 2:15-CV-1202-WCB, 2017 WL
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                                  13   841147, at *9. However, this is a factual dispute which the Court finds it cannot resolve on

                                  14   summary judgment. Accordingly, the Court DENIES IBM’s motion for summary judgment of no

                                  15   willful infringement.

                                  16   IV.    CONCLUSION
                                  17          For the foregoing reasons, the Court DENIES IBM’s Motion to Dismiss (Dkt. No. 212)

                                  18   and GRANTS IN PART and DENIES IN PART IBM’s Motion for Summary Judgment (Dkt. No.

                                  19   218), as set forth below:

                                  20          1.      IBM’s motion to dismiss PersonalWeb’s infringement claims is DENIED.

                                  21          2.      IBM’s motion for partial summary judgment that manufacture, sale, importation,

                                  22   and/or offer for sale of TSM software does not infringe claim 166 of the ’420 patent is

                                  23   GRANTED.

                                  24          3.      IBM’s motion for partial summary judgment that TSM does not infringe claim 166

                                  25   of the ’420 patent under the doctrine of equivalents is GRANTED.

                                  26          4.      IBM’s motion for partial summary judgment that IBM does not jointly infringe

                                  27   claim 166 of the ’420 patent is GRANTED.

                                  28          5.      IBM’s motion for partial summary judgment that IBM does not indirectly infringe
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                                   1   claim 166 of the ’420 patent is DENIED.

                                   2          6.     IBM’s motion for partial summary judgment that TSM without the “client-side

                                   3   deduplication” feature does not infringe claim 166 of the ’420 patent is DENIED.

                                   4          7.     IBM’s motion for partial summary judgment that the claims no longer asserted by

                                   5   PersonalWeb and not yet dismissed are not infringed is GRANTED.

                                   6          8.     IBM has not willfully infringed claim 166 of the ’420 patent is DENIED.

                                   7          IT IS SO ORDERED.

                                   8

                                   9   Dated: May 9, 2017

                                  10                                                 ______________________________________
                                                                                     EDWARD J. DAVILA
                                  11                                                 United States District Judge
                                  12
Northern District of California
 United States District Court




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